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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IAN PADMORE,                                      Civil No. 3:21-cv-1202

              Petitioner                          (Judge Mariani)

       V.

WARDEN STEPHEN SPAULDING,

              Respondent



       AND NOW, this   _Jj}___~    y of O:o::~:021, upon consideration of the petition for

writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the

accompanying Memorandum, IT IS HEREBY ORDERED THAT:

       1.     The petition for writ of habeas corpus is DISMISSED without prejudice. (Doc.
              1).

       2.     The Clerk of Court is directed to CLOSE this case.




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                                           United States District Judge
